           Case 2:21-cr-00491-SB Document 225 Filed 07/05/22 Page 1 of 3 Page ID #:4788

                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                         CRIMINAL MINUTES – GENERAL


Case No.        2:21-cr-00491-SB-1                                                               Date:   July 5, 2022


Present: The Honorable:     STANLEY BLUMENFELD, JR., U.S. District Judge

Interpreter

                Jennifer Graciano                            None Present                                None Present
                   Deputy Clerk                         Court Reporter / Recorder                     Assistant U.S. Attorney


  U.S.A. v. Defendant(s)              Present Cust    Bond                Attorneys for Defendants:             Present   App   Ret
  Jeffrey Fortenberry (Not Present)



Proceedings: ORDER TO SHOW CAUSE

      John Littrell represented the defendant, former Congressman Jeffrey Fortenberry, in this
case. At trial, Defendant exercised his constitutional right not to testify. During his closing
argument, Mr. Littrell addressed this fact, explaining to the jury:

         So . . . the Court instructed you, rightfully so, that you cannot consider the fact that
         the Congressman didn’t testify. He has an absolute right not to testify and you
         cannot consider it, but that’s a hard instruction to follow, especially in a case where
         we’re talking about what’s in his mind, what he knew, what he remembered, and
         what he understood. And we don’t have to explain the decision not to testify, but
         I’m going to. And the answer is that he did testify. Remember, most of what we
         listened to during our, I think, six days of trial were his statements. And the
         testimony, essentially, that he gave in those recordings was unvarnished,
         unprepared, uncounseled. Well, I suppose in D.C. he told the prosecutors what he
         knew and remembered, and you got to hear that, too. I can’t improve on that. I
         can’t—his memory is not better today than it was in 2019, so there’s really nothing
         to add. And so here you are, some of you may be thinking, why didn’t he testify?
         Why didn’t he explain this? But what do you think would have happened if he got
         up there on the stand and tried to explain and his memory is worse than it was
         before and the Government confronts him with the call and asks him to explain it?
         He would say the same thing as what he said before, this is what I heard, this is
         what I understood.



CR-11 (04/15)                                        Criminal Minutes – General                            Page 1 of 3
          Case 2:21-cr-00491-SB Document 225 Filed 07/05/22 Page 2 of 3 Page ID #:4789

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                  CRIMINAL MINUTES – GENERAL

Dkt. No. 204, at 207–08. At this point, the prosecutor objected, and the Court sustained the
objection.

       Mr. Littrell’s argument was improper. Mr. Littrell did not simply remind the jury of the
instruction and implore them to follow it. He told the jury the purported reason his client did
not testify. The reason, he said, was that his client’s “memory is not better today than it was in
2019” when his client spoke to the government. As a result, Mr. Littrell continued, he could not
“improve on” what the jury already had heard from the 2019 recorded statements.

      Mr. Littrell did not stop there. In case the jury somehow missed the point, Mr. Littrell
went on to explain what his client would have stated had he taken the witness stand. According
to Mr. Littrell, his client would have testified that “his memory is worse than it was before,” and
“[h]e would say the same thing as what he said before, that is what I heard, this is what I
understood.”

       It is an elementary principle of law that a lawyer in closing argument may only argue
facts admitted into evidence and reasonable inferences to be drawn therefrom. Mr. Littrell, an
experienced lawyer, knew there were no facts in evidence about why his client chose not to
testify or about what his client would have said had he elected to testify. Despite this
knowledge, Mr. Littrell made a calculated decision to cross the line. When the Court
confronted him about his conduct outside the presence of the jury, Mr. Littrell explained:

         I will tell you this, having done this for a long time: Jurors have a real problem
         with [a defendant’s decision not to testify], and I think that’s why the Court
         emphasized that instruction is because jurors really struggle with that and so I feel
         some obligation to say something about it. But if I’ve gone too far, and it sounds
         like the Court feels I have, I certainly apologize. And I guess I would
         acknowledge that the risk falls on the defense when we do that. I don’t—I felt it
         was a fair comment on the issue and on the instruction on the issue, but certainly
         reasonable minds can disagree about that.

Id. at 245.

       Mr. Littrell’s explanation demonstrates that he knew full well what he was doing, and
that he decided to take the risk because of his concern that jurors might disregard the law. In
Mr. Littrell’s view, his argument to the jury about why his client did not testify and what his
client would have stated had he testified was “a fair comment on the issue.” It is difficult to


CR-11 (04/15)                             Criminal Minutes – General             Page 2 of 3
          Case 2:21-cr-00491-SB Document 225 Filed 07/05/22 Page 3 of 3 Page ID #:4790

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                CRIMINAL MINUTES – GENERAL

imagine how Mr. Littrell could believe that it was “fair” to introduce facts that were not
presented at trial and subject to cross examination—particularly these facts. Indeed, Mr. Littrell
maintained this position even after the Court explained the manifest unfairness of this tactic
given that the prosecutor could not meaningfully respond to the defense’s argument in rebuttal
without risking reversible error and a charge of misconduct. Griffin v. California, 380 U.S.
609, 615 (1965) (reversing conviction because prosecutor commented on a defendant’s decision
not to testify).

        Because of the seriousness of this issue and Mr. Littrell’s response to it, the Court does
not believe that it can let this matter stand without taking any action. Mr. Littrell is an
experienced lawyer who gave substantial thought before making the argument about his client’s
decision not to testify. And when confronted about the impropriety, Mr. Littrell responded that
he believed “it was a fair comment” and that “reasonable minds can disagree about that.” The
response suggests that Mr. Littrell not only fails to see anything wrong with his argument, but
also that he may continue to so argue in future cases because of his view that juries are unable
to follow the law. The Court therefore issues an order to show cause (OSC) why Mr. Littrell
should not be sanctioned and/or referred to the Standing Committee on Discipline pursuant to
Local Rule 83-3.1. Mr. Littrell shall file a declaration in response to the OSC by no later than
July 15, 2022. In his declaration, Mr. Littrell shall disclose whether any judge has ever
criticized, admonished, or otherwise spoken to him about his commenting on the fact that his
client did not testify (by stating the name of the judge, the name of the case, and the case
number).

         IT IS SO ORDERED.




CR-11 (04/15)                           Criminal Minutes – General            Page 3 of 3
